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                       Exhibit A
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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK
                 ---------------------------------------------------------------------X
                 JANE DOE V,

                                                             Plaintiff,                        Index No.: ___________/20

                                  -against-                                                      Plaintiff designates
                                                                                                NEW YORK COUNTY
                 HARVEY WEINSTEIN, ROBERT WEINSTEIN,                                               as place of trial
                 MIRAMAX HOLDING CORP., MIRAMAX FILM NY,
                 LLC f/k/a MIRAMAX FILM CORP., THE WALT                                           The basis of venue is
                 DISNEY COMPANY, DISNEY ENTERPRISES, INC.                                           CPLR § 503(a)
                 and DOE CORP. 1-10,
                                                                                                      SUMMONS
                                                              Defendants.
                 ---------------------------------------------------------------------X
                 To the above-named Defendants:

                 YOU ARE HEREBY SUMMONED to Answer the Verified Complaint in this action and to
                 serve a copy of your Answer, or, if the Verified Complaint is not served with this Summons, to
                 serve a Notice of Appearance on Plaintiff’s attorneys within twenty (20) days after the service of
                 this Summons, exclusive of the day of service (or within 30 days after the service is complete if
                 this Summons is not personally delivered to you within the State of New York); and, in the case
                 of your failure to appear or Answer, judgement will be taken for the relief demanded in the
                 complaint.

                 A COPY OF THIS SUMMONS WAS FILED WITH THE CLERK OF THE COURT,
                                     10/02/20 IN COMPLIANCE WITH CPLR §§305(a) AND
                 NEW YORK COUNTY ON __________
                 306(a).

                 Dated: New York, NY
                        October 2, 2020
                                                                                          MERSON LAW, PLLC


                                                                               By:
                                                                                          Jordan K. Merson
                                                                                          Jesse R. Mautner
                                                                                          Attorneys for Plaintiff
                                                                                          950 Third Avenue, 18th Floor
                                                                                          New York, New York 10022
                                                                                          Telephone: (212) 603-9100
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                                                                                          jmerson@mersonlaw.com
                                                                                          jmautner@mersonlaw.com




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                 HARVEY WEINSTEIN
                 50 West 70th Street, #2
                 New York, NY 10023

                 375 Greenwich Street, Floor 3
                 New York, NY 10013

                 ROBERT WEINSTEIN
                 1745 Broadway, Floor 18
                 New York, NY 10019

                 MIRAMAX HOLDING CORP.
                 500 South Buena Vista Street
                 Burbank, CA 91521
                 c/o Corporation Services Company

                 2710 Gateway Oaks Drive, Ste. 150N
                 Sacramento, CA 95833
                 c/o Corporation Services Company

                 MIRAMAX FILM NY, LLC
                 1901 Avenue of the Stars
                 Los Angeles, CA 90067
                 c/o Corporation Services Company

                 80 State Street
                 Albany, NY 12207
                 c/o Corporation Services Company

                 THE WALT DISNEY COMPANY
                 500 South Buena Vista Street
                 Burbank, CA 91521
                 c/o Chakira H. Gavazzi

                 251 Little Falls Drive
                 Wilmington, DE 19808
                 c/o Corporation Services Company

                 80 State Street
                 Albany, NY 12207
                 c/o Corporation Services Company

                 DISNEY ENTERPRISES, INC.
                 500 South Buena Vista Street
                 Burbank, CA 91521
                 c/o Chakira H. Gavazzi




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                 251 Little Falls Drive
                 Wilmington, DE 19808
                 c/o Corporation Services Company

                 80 State Street
                 Albany, NY 12207
                 c/o Corporation Services Company

                 DOE CORP. 1-10




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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK
                 ---------------------------------------------------------------------X
                 JANE DOE V,

                                                             Plaintiff,                          Index No.: ___________/20
                                  -against-

                 HARVEY WEINSTEIN, ROBERT WEINSTEIN,
                                                                                                 VERIFIED COMPLAINT
                 MIRAMAX HOLDING CORP., MIRAMAX FILM NY,
                 LLC f/k/a MIRAMAX FILM CORP., THE WALT
                 DISNEY COMPANY, DISNEY ENTERPRISES, INC.
                 and DOE CORP. 1-10,
                                                                                                    Jury Trial Demanded
                                                              Defendants.
                 ---------------------------------------------------------------------X
                          Plaintiff Jane Doe V1, by and through her attorneys at Merson Law, PLLC, and as for her

                 complaint against Harvey Weinstein, Robert Weinstein, Miramax Holding Corp., Miramax Film

                 NY, LLC f/k/a Miramax Film Corp. (together with Miramax Holding Corp., “Miramax”), The

                 Walt Disney Company, Disney Enterprises, Inc. (together with The Walt Disney Company,

                 “Disney”) and Doe Corp. 1-10 (collectively “Defendants”), alleges as follows:

                                                     PRELIMINARY STATEMENT

                         1.       Over the course of several decades, the now convicted serial sex offender Harvey

                 Weinstein was able to use his power and influence in the entertainment industry, including, but

                 not limited to, his ownership and control of Miramax, affiliation with Disney and ownership and

                 control of Doe Corp. 1-10, to entice and intimidate unsuspecting females, including Plaintiff, into

                 compromising situations where he could use his power, threats and when that failed, physical

                 force, to sexually abuse, assault, batter and falsely imprison women and young girls, including

                 Plaintiff.



                 1
                   Plaintiff uses a pseudonym because she is a victim of a sex crime pursuant to N.Y. Civ. Rights § 50-b and other
                 statutory and common law principles.




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                            2.      Under the pretense of helping advance Plaintiff’s career, Harvey Weinstein was

                 able to successfully isolate Plaintiff from her friends and peers in order to sexually harass, falsely

                 imprison and sexually assault and/or batter her (collectively “sexually abuse”).

                            3.      Due to the fact that Plaintiff was already involved in entertainment industry, and

                 was also aware that Harvey Weinstein was well-known and well-connected within the industry,

                 something that he used to his advantage and often used to threaten his victims, including Plaintiff,

                 at all times herein mentioned, Plaintiff was acting under extreme duress due to the credible threat

                 of being blacklisted, harmed and/or personally attacked by Harvey Weinstein and other major

                 players in the industry, including, but not limited to, his brother, Robert Weinstein, Miramax,

                 Disney and Doe Corp. 1-10 were she to refuse his advances and/or report his sexual abuse after

                 the fact.

                            4.      On information and belief, over time, Harvey Weinstein used numerous

                 individuals within these companies and his inner-circle to not only facilitate and conceal his

                 pattern of unwanted sexual abuse, but also prevent such abuse from becoming known within the

                 industry and world at-large. As Manhattan District Attorney Cyrus Vance Jr. remarked after

                 Harvey Weinstein’s sentencing on March 11, 2020 for sexually assaulting Miriam Haley in 2006

                 and raping Jessica Mann in 2013:

                                    Harvey Weinstein deployed nothing less than an army of spies to
                                    keep them silent. But they refused to be silent, and they were heard.
                                    Their words took down a predator and put him behind bars and
                                    gave hope to survivors of sexual violence all across the world.2

                            5.      As Harvey Weinstein’s sexual abuse of young girls and women continued for

                 decades on end and became harder to conceal, the number of participants and facilitators

                 continued to grow. The list includes, but is not limited to, on information and belief, Robert


                 2
                     https://www.manhattanda.org/d-a-vance-harvey-weinstein-sentenced-to-23-years-in-prison




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                 Weinstein, Miramax, Disney and Doe Corp. 1-10. As previously mentioned, because Harvey

                 Weinstein was only able to get Plaintiff into the compromising situations that she found herself

                 in under the guise of his ownership and control of Miramax, affiliation with Disney and

                 ownership and control of Doe Corp. 1-10, there is no doubt that Harvey Weinstein was acting

                 within the scope of his employment while sexually abusing Plaintiff and, as evidenced by his

                 repeated avoidance of discipline, had his behavior ratified or concealed by higher-ups, managers

                 and principals throughout Miramax, Disney and Doe Corp. 1-10.

                           6.      As if the sexual abuse perpetrated on Plaintiff was not bad enough, after it was

                 over, on information and belief, Harvey Weinstein then utilized his “Army of Spies” to harass,

                 threaten, extort and mislead Plaintiff in order to hinder and prevent her disclosure of his sexual

                 abuse and avoid prosecution for the same. 3

                           7.      Indeed, as psychology expert Dr. Peter Hughes noted:

                                   “Everybody knew about Harvey Weinstein. Everybody knew
                                   about his behavior, yet nobody did anything. That made it almost
                                   impossible for anybody to come forward and make any accusation.

                                   The length[s] to which Harvey Weinstein would go, and his access,
                                   his ability to go these lengths to protect his name, and to protect
                                   himself from any accusation, was quite extraordinary ... [F]or
                                   instance, he hired Blackcube, ex-Israeli intelligence officers, to
                                   find out who might be making allegations against him, and to shut
                                   them down ... So ... when people say why didn’t people speak up
                                   ... not only are you dealing with Harvey Weinstein, not only are
                                   your risking your career, not only are you going to be blacklisted,
                                   not only might you be countersued for false allegations, you are
                                   also going to face the might of all sorts of the murkier world of
                                   intelligence, of security, that are set up and designed to protect
                                   these men, and men like Harvey Weinstein use that veil, and use
                                   that screen of protection, and it makes them believe to two things:
                                   one, that they’ll never ever, ever get caught; and, secondly, if they
                                   do caught, if somebody dares to accuse them, they will crush the
                                   accuser like a fly.4

                 3
                     https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies/amp
                 4
                     Jordan Hill, The Harvey Weinstein Scandal (2018)




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                           8.    Hughes also went on to detail one of the “great myths” about Harvey Weinstein,

                 and why his accusers, with allegations spanning several decades, did not come forward sooner:

                                 “[I]magine this scenario ... you are a woman in a lower state of
                                 power relative to one of the most powerful men in the
                                 entertainment industry, one of the most powerful in the United
                                 States. This man knows everybody: the top lawyers, top
                                 politicians, presidents, every film director, every producer, every
                                 actor, everybody acknowledges and bows down to Harvey
                                 Weinstein. You, having been touched inappropriately in a
                                 vulnerable position with nowhere near his economic power, his
                                 social power, his political power, what are you [going to] do?
                                 You’re [going to] think ‘that wasn’t right,’ and more often than
                                 not, you may even turn [a]round and think ‘was it something I
                                 did?’ ... [A]nd the answer to that is an absolute and categorical no.
                                 These women did not do anything to encourage Harvey Weinstein
                                 to engage with them against their consent. And they have not only
                                 had to live with the abuse, they have had to live with the feeling of
                                 powerlessness about having been abused and also feeling ashamed
                                 of it while Harvey Weinstein just goes on and on and on and keeps
                                 doing it and doing it and doing it.”5

                           9.    Accordingly, Plaintiff seeks that Harvey Weinstein be held liable for sexually

                 abusing her, and Robert Weinstein, Miramax, Disney and Doe Corp. 1-10 be held liable for their

                 negligence and other unlawful conduct in allowing the abuse to happen under New York law.

                 Defendants’ conduct caused insurmountable damages to Plaintiff, including derailing her once

                 promising future due to the personal injuries and emotional distress she endured as a result of

                 being sexually abused by Weinstein for which Defendants must now be held responsible for.

                                                             PARTIES

                           10.   Plaintiff, a victim of sexual abuse, has been identified by the “Jane Doe”

                 pseudonym herein because this matter is of a highly sensitive and personal nature, and public

                 disclosure of her identity poses the risk harming her personal and professional lives in addition



                 5
                     Id.




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                 to subjecting her to further humiliation, shame, and emotional distress. In addition, she was afraid

                 and fearful to come forward until now, as she was threatened with harm if she did so.

                        11.     Plaintiff is a 55-year-old woman. She is a citizen of the United States and resident

                 of Pennsylvania.

                        12.     Prior to being incarcerated, Harvey Weinstein was, on information and belief, a

                 citizen of the United States and resident of New York. In the late 1970s, Harvey Weinstein, along

                 with his brother and co-Defendant Robert, created the independent film distribution company

                 known as Miramax which was ultimately bought by Disney in 1993. The brothers remained at

                 Miramax, under the Disney umbrella, until September 2005 when they left to start The Weinstein

                 Company. As such, on information and belief, at all relevant times herein mentioned, Harvey

                 Weinstein was either reporting to executives at Miramax or Disney who had the ability to set his

                 pay, control his work conditions, discipline and ultimately, fire him for his abhorrent conduct as

                 mentioned herein.

                        13.     Defendant Robert Weinstein is, on information and belief, a citizen of the United

                 States and resident of New York. As more fully set forth below, he has known about his brother’s

                 repeated predatory sexual conduct toward women since at least their initial days at Miramax.

                        14.     Defendant Miramax Holding Corp. is a Delaware Corporation with its principal

                 place of business located in Burbank, California. On information and belief, Miramax Holding

                 Corp. is the successor entity to one of the Miramax entities that employed Harvey Weinstein or

                 for which Harvey Weinstein acted as an officer or director.

                        15.     Miramax Film NY, LLC f/k/a Miramax Film Corp. is a New York corporation

                 with its principal place of business located in Los Angeles, California. On information and belief,

                 in 2010, Miramax Film NY, LLC merged with and assumed all of the liabilities of Miramax Film




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                 Corp., one of the Miramax entities that employed Harvey Weinstein or for which Harvey

                 Weinstein acted as an officer or director.

                           16.      Defendant The Walt Disney Company is a Delaware corporation with its principal

                 place of business located in Burbank, California. On information and belief, Disney entered into

                 two employment agreements with Harvey Weinstein and Miramax; the first ran from 1993 to

                 1995 and the second ran from 1995 to 1999.6 Accordingly, on information and belief, Disney

                 exercised oversight and control over Harvey Weinstein.

                           17.      Defendant Disney Enterprises, Inc. (“Disney Enterprises”) is a Delaware

                 corporation with its principal place of business located in Burbank, California. On information

                 and belief, Disney Enterprises entered into an employment agreement with Harvey Weinstein

                 and Miramax in 1999 that ran to 2005 wherein it was agreed that Disney Enterprises and Miramax

                 would be held jointly and several liable. 7

                           18.      Defendant Doe Corp. 1-10 are the successor and related entities of Miramax and

                 Disney that employed Harvey Weinstein during the relevant time period.

                                                     JURISDICTION AND VENUE

                           19.      This Court has jurisdiction over this matter pursuant to New York Civil Practice

                 Laws and Rules (“CPLR”) § 301.

                           20.      Venue is proper in New York County pursuant to CPLR § 503(a) because it is the

                 County in which at least one of the parties resides and where a substantial part of the events

                 giving rise to the claims herein occurred.



                                                                   FACTS


                 6
                     https://www.canlii.org/en/on/onsc/doc/2018/2018onsc2122/2018onsc2122.html
                 7
                     Id.




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                                             Harvey Weinstein’s History of Sexual Abuse

                         21.      Prior to breaking into the film industry, the Weinstein brothers were based out of

                 Buffalo, New York. There, Harvey ran a concert promotion company named Harvey and Corky

                 Productions, and Robert, having recently dropped out of college, worked as a promoter for movie

                 festivals in a nearby theatre that Harvey owned. 8

                         22.      It was during period of time that the first allegations of sexual abuse were levied

                 against Harvey. First, Cynthia Burr, an actress who at the time was in her early twenties,

                 described being confronted in a hallway of a building in New York and being forced to perform

                 oral sex on the industry “up-and-comer”.9

                         23.      It was also during this same period of time that Hope Exiner d’Amore, one of

                 Weinstein’s employees at Harvey and Corky Productions, alleged that while on business trip to

                 New York, Weinstein first surprised her by telling her that the two would be sharing a room

                 before, in the middle of the night, forcibly performing oral sex and intercourse on her. 10

                         24.      However, based on all accounts, Weinstein was able to keep these, and possibly

                 several other incidents, concealed from the public, and in the late 1970s, having earned enough

                 money from his concert promotion business, founded the small independent film distribution

                 company known as Miramax.11

                         25.      Shortly thereafter, Harvey and Robert Weinstein’s reputations in the

                 entertainment industry grew exponentially as Miramax produced and distributed several films

                 that achieved both critical attention and commercial success. 12 However, as set forth in a USA



                 8
                   https://www.vanityfair.com/news/2003/04/max-weinstein-200304
                 9
                   https://www.usatoday.com/story/life/people/2017/10/30/harvey-weinstein-scandal-donna-karan-still-apologizing-
                 asking-trouble-comments/812621001/
                 10
                    Id.
                 11
                    https://www.vanityfair.com/news/2003/04/max-weinstein-200304
                 12
                    Id.




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                 Today article entitled “Harvey Weinstein: Timeline of Hollywood success and hidden abuse,”

                 all the while, Harvey’s sexual abuse of young women continued to run rampant.13

                         26.      In 1980, Paula Wachowiak recalls Weinstein exposing himself to her when she

                 was a twenty-four-year-old production assistant on his first film, “The Burning.” After leaving

                 the room in tears, Weinstein later asked her if it was the “highlight of [her] internship.”14

                         27.      Then in 1984, two years after the success of Miramax’s “The Secret Policeman’s

                 Other Ball,” Tomi-Ann Roberts, a twenty-year-old college student, remembers when Weinstein,

                 a customer at the restaurant she was waiting tables at, took to her, sent her a script and later asked

                 her to meet with him to discuss the film. However, as soon as she arrived, Roberts saw a naked

                 Weinstein sitting in a bathtub demanding she get naked too because the character he wanted her

                 to play might be topless in the film. 15 This ploy, the setting up of meetings with young women

                 under the guise of doing business with them, is something that Weinstein repeated time and again

                 throughout the years.

                         28.      Indeed, five years later in 1989, actress Heather Kerr recollects Weinstein

                 exposing himself to her while discussing how he could help her acting career. Kerr stated that

                 after Weinstein got her alone in his office, he told her that “if he was going to introduce [her]

                 around town to directors and producers, he needed to know if [she] was any ‘good’” and “that

                 this was how things worked in Hollywood and that all of the actresses that had made it, had made

                 it this way.” Kerr went on saying that, “frozen in fear ... [t]he next thing I knew, he had unzipped




                 13
                    https://www.usatoday.com/pages/interactives/news/harvery-weinstein-timeline/
                 14
                    https://www.usatoday.com/story/life/people/2017/10/15/harvey-weinstein-news-london-police-investigate-new-
                 assault-claims-against-him/765978001/
                 15
                    https://www.usatoday.com/pages/interactives/news/harvery-weinstein-timeline/




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                 his fly and pulled out his penis ... He then grabbed my hand and pulled me towards him and

                 forced my hand onto his penis and held it there.”16

                         29.      Notably, in 1990, for the first time on record, Weinstein settled with one of his

                 victims, a young assistant from Miramax’s London office. 17

                         30.      This settlement did nothing to deter Weinstein from continuing with his abhorrent

                 behavior as actress Annabella Sciorra recounts that in 1991, Weinstein “violently” raped her after

                 filming “The Night We Never Met” in addition to attempted to perform oral sex on her. 18 Sciorra

                 also noted that Weinstein repeatedly sexually harassed her several more times over the next

                 several years.19

                         31.      However, those close to him, such as his brother, Robert Weinstein, Miramax,

                 Disney and/or their principals, managers and agents were able to keep these propensities

                 unknown to the industry at-large and in 1993, Disney purchased Miramax from Harvey and

                 Robert Weinstein in a deal valued between $60 to $80 million.20

                         32.      Weinstein also repeatedly displayed a pattern of conduct of falsely imprisoning

                 his victims. As actress Katherine Kendall described regarding his attack of her in 1993, “[h]e

                 literally chased me ... He wouldn’t let me pass him to get to the door.”21

                         33.      Similarly, in 1996, after refusing to give Weinstein a massage, Judith Godreche,

                 a twenty-four-year-old French actress, recalls him cornering her in a hotel room, “pressing

                 against her and pulling off her sweater.”22


                 16
                    https://www.usatoday.com/story/life/people/2017/10/20/jill-scotts-harvey-weinstein-story-he-said-who-told-
                 you-get-pregnant/783492001/
                 17
                    https://www.usatoday.com/pages/interactives/news/harvery-weinstein-timeline/
                 18
                    https://www.usatoday.com/story/life/people/2017/10/27/harvey-weinstein-scandal-ashley-judd-says-tipping-
                 point-sexual-harassment-here/806013001/
                 19
                    Id.
                 20
                    https://www.newstatesman.com/node/160714
                 21
                    https://www.usatoday.com/pages/interactives/news/harvery-weinstein-timeline/
                 22
                    Id.




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                         34.     A year later, in 1997, Weinstein once again settled with one of his victims, actress

                 Rose McGowan, over an incident that took place in a hotel room. 23 However, this settlement

                 clearly did not phase Weinstein as just a few months later, he was back at it, forcibly performing

                 oral sex on twenty-one-year-old Italian actress Asia Argento.24

                         35.     Perhaps due to this tremendous success and acquisition of fame and fortune, and

                 as more fully set forth below, Weinstein’s propensities continued to accelerate. Using the power,

                 influence and resources of his position at Miramax, which was further cemented by the Disney

                 purchase, Weinstein continued to meet privately with women, including Plaintiff, by using her

                 desire to break further into the entertainment industry as bait to lure them into his twisted world.

                                           Harvey Weinstein’s Sexual Abuse of Plaintiff

                         36.     Plaintiff first met Harvey Weinstein in 1984 at the Cannes Film Festival (then

                 known as the International Film Festival) shortly after she had turned 19-years-old.

                         37.     Plaintiff was introduced to Harvey Weinstein by and through her then boyfriend

                 who was friendly with Weinstein through their involvement in the entertainment industry.

                         38.     As such, for the first few years of their knowing each other, Harvey Weinstein

                 kept his distance from Plaintiff due to what seemed like his respect for her boyfriend/his friend.

                         39.     However, when Plaintiff and Harvey Weinstein crossed paths at a film premiere

                 in approximately 1992, Plaintiff was then single and noticed that Weinstein began to show a

                 different sort of interest in her. While it first began as interest in a professional manner, it quickly

                 turned into unwanted sexual advances.




                 23
                   https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-allegations.html?_r=1
                 24
                   https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-sexual-assault-harvey-weinsteins-
                 accusers-tell-their-stories




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                        40.     First, in or around the time that Harvey Weinstein sold his company, Miramax, to

                 Disney, he invited Plaintiff to his room at The Peninsula Beverly Hills under the guise of having

                 a cocktail before going out to dinner and celebrating his newly found fame and wealth.

                        41.     After arriving to and settling into the room, Harvey Weinstein excused himself to

                 finish getting ready while Plaintiff waited, however, shortly thereafter, Weinstein returned in

                 nothing but a bathrobe and exposed his genitals to Plaintiff before she could utter a word.

                        42.     Plaintiff immediately recoiled and was taken aback as she had never personally

                 seen Harvey Weinstein exhibit this sort of behavior, and then remarked to Weinstein how she

                 was even in attendance at his first wedding to his then wife, Eve Chilton, in 1987, and how that

                 made the already uncomfortable situation simply untenable.

                        43.     After making it abundantly clear that she was not interested in any sort of sexual

                 encounter with him, Harvey Weinstein eventually put his clothes back on and the two joined the

                 rest of the party at nearby Dominick’s for dinner.

                        44.     Due to the fact that Weinstein was so well-connected in the entertainment industry

                 and Plaintiff was an up and coming actress, and the fact that this was the first time that Plaintiff

                 had experienced this sort of behavior from Weinstein who had continuously promised to get her

                 roles in his movies, she gave him the benefit of the doubt and the two remained in touch.

                        45.     The next incident that turned sexual over Plaintiff’s wishes was in approximately

                 1994 when the two met at The Mayflower Hotel on Central Park West in New York City. This

                 time, the meeting was arranged under the guise of discussing business, but once again, after

                 arriving in his room, Weinstein excused himself and came back with his genitals exposed and

                 was actually able to rub his genitals up against Plaintiff’s body before she broke free and quickly

                 exited the room.




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                        46.     The third and final time that Weinstein was sexually inappropriate towards

                 Plaintiff was also the most violent and invasive time. After having reestablished their relationship

                 through years of “good” behavior, in or about October of 2000, Weinstein lured Plaintiff to his

                 home in New York City under the guise of having dinner and drinks and watching the presidential

                 debate that was airing on television.

                        47.     After arriving at his home, Weinstein ordered the two sushi and they had dinner

                 and shared drinks while watching the debate. However, when Plaintiff eventually got up to use

                 the bathroom, Weinstein also got up, blocked Plaintiff’s path, forced her down onto a bed,

                 removed her underwear and forcibly raped her. The sheer size and mass of Weinstein prevented

                 Plaintiff from being able to escape his clutches, but once he backed up, she broke free, sprinted

                 for the door, and never saw Weinstein again.

                        48.     As a result of the aforementioned incidents of false imprisonment, sexual assault,

                 sexual battery and rape, Plaintiff suffered, and continues to suffer from severe and serious

                 injuries, including, but not limited to, severe emotional distress and physical manifestations

                 thereof. Plaintiff’s career was completely derailed and she all but stopped acting.

                                               The Timeliness of Plaintiff’s Claim

                        49.     First and foremost, Plaintiff’s claim is timely filed pursuant to CPLR § 213-C

                 (Action by victim of conduct constituting certain sexual offenses) as it is a civil claim brought as

                 a result of conduct suffered that constitutes rape in the first degree as defined in section 130.35

                 of the penal law and/or rape in the third degree as defined in section 130.25 of the penal law

                 against parties whose intentional and/or negligent acts and/or omissions resulted in the

                 commission of said rape, and this claim has been filed within twenty years of such conduct as




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                 Plaintiff was raped by Harvey Weinstein no earlier than October 3, 2000 (the night of the first

                 2000 presidential debate).

                        50.     Plaintiff’s claim is also timely brought pursuant to CPLR § 215(8)(b) which

                 provides that “[w]henever it is shown that a criminal action against the same defendant has been

                 commenced with respect to the event or occurrence from which a claim governed by this section

                 arises, and such criminal action is for rape in the first degree as defined in section 130.35 of the

                 penal law... the plaintiff shall have at least five years from the termination of the criminal action

                 as defined in section 1.20 of the criminal procedure law in which to commence the civil action...”

                        51.     As is well established, the criminal action against Harvey Weinstein for, inter

                 alia, rape in the first degree as defined in section 130.35 of the penal law, was terminated on

                 March 11, 2020 when he was sentenced to twenty-three-years in prison.

                        52.     Accordingly, because Harvey Weinstein engaged in sexual intercourse with her

                 by forcible compulsion in violation of New York Penal Law 130.35 (rape in the first degree), her

                 claim is timely brought pursuant to CPLR § 215(8)(b).

                        53.     Finally, Defendants should be barred from asserting the expiration of the statute

                 of limitations as an affirmative defense as it pertains to Plaintiff’s claim pursuant to the doctrine

                 of equitable estoppel.

                        54.     As more fully set forth herein, equitable estoppel is applicable because Plaintiff

                 had been estopped from previously asserting her claim due to Defendants and/or their agents,

                 servants and/or employees’ affirmative wrongdoing being the sole reason for the delay between

                 the accrual of her cause of action and the commencement of this proceeding.




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                         55.     Indeed, as demonstrated herein and as referenced by District Attorney Vance,

                 Defendants “deployed nothing less than an army of spies to keep [Weinstein’s victims] silent.”25

                 Accordingly, there can be no doubt that Defendants’ conduct amounted to “fraud,

                 misrepresentation, threat, or deception which, prior to Harvey Weinstein’s arrest and conviction,

                 caused Plaintiff to refrain from filing her claim.

                         56.     Further, as has been widely reported, if a young girl or woman refused to give in

                 to Harvey Weinstein’s advances and/or speak out against what he had done to them, “Weinstein

                 and his associates used nondisclosure agreements, payoffs, and legal threats to suppress their

                 accounts.”26 This includes a report that shortly before The New York Times and The New Yorker

                 finally revealed the decades-long pattern of harassment, Weinstein and his legal team began

                 calling his accusers and threatening them should they continue to talk to media publications; they

                 also threatened to sue The New York Times and other outlets for their reporting on Weinstein’s

                 predatory past.27

                         57.     This type of behavior, which was known throughout the industry, including

                 Plaintiff, actually and reasonably placed Plaintiff under duress and fear, and caused her to abstain

                 from asserting her legal rights in response to Weinstein sexually abusing her and is the exact

                 reason for the doctrine of equitable estoppel.

                         58.     As such, the doctrine of equitable estoppel is appropriate where, as here, it would

                 be unjust to allow a defendant to assert a statute of limitations defense.




                 25
                    https://www.manhattanda.org/d-a-vance-harvey-weinstein-sentenced-to-23-years-in-prison
                 26
                    https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-sexual-assaultharvey-weinsteins-
                 accusers-tell-their-stories
                 27
                    Id.




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                                          Robert Weinstein's Knowledge and Active
                                     Concealment of Harvey Weinstein's Sexual Misconduct

                         59.      As has been demonstrated extensively through prior settlements and in-depth

                 interviews, Robert Weinstein was well-aware that his brother had an insatiable propensity to

                 sexually abuse young girls and women, something that he not only failed to stop, but ostensibly

                 helped to conceal and allow to continue on for decades.

                         60.      As stated by Kathy DeClesis, Robert Weinstein's assistant at Miramax in the early

                 1990s, in The New York Times article entitled “Harvey Weinstein Paid Off Sexual Harassment

                 Accusers for Decades”, Harvey Weinstein's harassment of women “wasn't a secret to the inner

                 circle.”28

                         61.      There can be no doubt that Robert Weinstein knew about his brother’s abhorrent

                 conduct as far back as 1990 as according to an article published by the New York Times entitled

                 “Weinstein’s Complicity Machine”, Robert Weinstein participated in settling a sexual assault

                 claims made against brother in 1990 by one of his assistants.29

                         62.      Then in 1998, as referenced in a New Yorker article entitled “Harvey Weinstein’s

                 Secret Settlements”, Robert Weinstein personally paid £250,000 to be split between two of

                 Harvey Weinstein’s former assistants at Miramax who claimed that he repeatedly sexually

                 harassed them.30

                         63.      This particular settlement agreement, which explicitly listed Robert Weinstein,

                 Harvey Weinstein and Miramax among the parties being released, contained and included strict




                 28
                    https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-allegations.html
                 29
                    https://www.nytimes.com/interactive/2017/12/05/us/harvey-weinstein-complicity.html
                 30
                    https://www.newyorker.com/news/news-desk/harvey-weinsteins-secret-settlements




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                 confidentiality agreements that stated only Robert or Harvey Weinstein could consent to the

                 release of the covered information. 31

                         64.     Nonetheless, Zelda Perkins, one of the two women who were a part of the

                 settlement referenced in paragraph 98, decided to break the agreement in 2017 when she sensed

                 that it was not being honored by the Defendants. Perkins insisted that the settlement agreements

                 include: a mandate that Harvey Weinstein partake in therapy for a minimum of a year; a

                 requirement that Miramax inform Disney, as their parent company, if the Weinsteins ever entered

                 into another similar type of settlement or agreement in the future and, that if they were not

                 prepared to do so, Miramax would be required to fire Weinstein. 32

                         65.     However, as demonstrated through the dozens of media reports and victims who

                 have come forward with similar allegations since Perkins’ agreement was executed, Weinstein’s

                 conduct continued for several more decades which is what ultimately led Perkins to speak out

                 despite the risk of serious legal consequences. As for how that occurred, Perkins said that “[i]t’s

                 ... the system that protected him and enabled him, because that’s the only thing [that can be

                 changed going forward]. Money and power enabled him ... Ultimately, the reason Harvey

                 Weinstein followed the route he did is because he was allowed to...” 33

                         66.     As such, there is no doubt that Robert Weinstein knew, or should have known,

                 that his brother was a dangerous predator likely to sexually abuse other women like Plaintiff

                 given that he witnessed his brother’s behavior; received direct and indirect verbal and written

                 complaints made by and on behalf of female victims and/or employees of Miramax who were




                 31
                    https://www.parliament.uk/documents/commons-committees/women-and-equalities/Correspondence/Zelda-
                 Perkins-SHW0058.pdf
                 32
                    Ronan Farrow, Catch and Kill: Lies, Spies, and a Conspiracy to Protect Predators (2019)
                 33
                    Id.




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                 sexually abused by Harvey Weinstein; and, knew of and explicitly authorized his company,

                 Miramax, to settle claims by women who were sexually abused by Harvey Weinstein.

                                           Miramax's Knowledge of Harvey Weinstein's
                                   Propensity to Engage in Sexual Harassment and Sexual Assault

                            67.     In addition to Robert Weinstein, other executives at Miramax also knew that

                 Harvey Weinstein had the propensity to utilize his position at the company to lure unsuspecting

                 girls and women in, under the guise of doing business on behalf of the company, and sexually

                 harass and abuse them.

                            68.     One of these executives was Irwin Reiter (“Reiter”), the Executive Vice President

                 of Accounting and Financial Reporting for Miramax from 1989 to 2005. Reiter has admitted that

                 Weinstein's mistreatment of women was an ongoing problem and one that he discussed with

                 other officers within Miramax, including Robert Weinstein. While Reiter claims that as he

                 became more and more alarmed by Weinstein’s behavior towards women, he raised concerns

                 within the company, such concerns fell on deaf ears. Nonetheless, Reiter, the executive tasked

                 with handling the reviewing of and payment of settlements to Harvey Weinstein’s victims, at

                 both Miramax and Disney, failed to formally report, investigate or take any action to prevent

                 future sexual abuse by Weinstein. 34

                            69.     In addition to Reiter, Mark Gill (“Gill”), the head of marketing at Miramax’s New

                 York office from approximately 1994 to 1997, and President of Miramax's Los Angeles division

                 from approximately 1997 to 2002 once told The New York Times that Weinstein's treatment of

                 women was “the biggest mess of all.” However, like Reiter, Gill failed to formally report,

                 investigate or take any action to prevent future sexual abuse by Weinstein.35



                 34
                      https://www.nytimes.com/2019/09/08/books/harvey-weinstein-book-kantor-twohey.html
                 35
                      The New York Times Editorial Staff, #MeToo: Women Speak Out Against Sexual Assault (2018)




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                            70.     In addition to Reiter and Gill, Barbara Schneeweiss (“Schneeweiss”), Harvey

                 Weinstein’s executive assistant from 1996 to 2005, also knew or should have known that Harvey

                 Weinstein was regularly sexually abusing women with whom he was meeting with while

                 conducting business on behalf of Miramax.

                            71.     On information and belief, Schneeweiss actually brought young actresses to

                 Harvey Weinstein, under the guise of having legitimate business meetings, who were ultimately

                 sexually abused by Weinstein.36 Therefore, based on her interactions with these victims and

                 Harvey Weinstein, Schneeweiss knew or should have known that Harvey Weinstein was

                 engaging in sexual misconduct and abuse. However, continuing the trend set by Reiter and Gill,

                 and in reality, the overall culture at Miramax under Weinstein, Schneeweiss failed to formally

                 report, investigate or take any action to prevent future sexual abuse by Weinstein.

                            72.     Rick Schwartz (“Schwartz”), Senior Vice President of Production at Miramax

                 from 1999 to 2006, also knew or should have known that Harvey Weinstein was regularly

                 sexually abusing women with whom he was meeting while conducting business on behalf of

                 Miramax.

                            73.     This is because like Schneeweiss, Schwartz was, on information and belief, also

                 tasked with luring victims to Weinstein's hotel suites, and, on information and belief, sometimes

                 even leading them up to Weinstein's suites to further create the sense of legitimacy before leaving

                 and ensuring the victim was left alone with Weinstein.37

                            74.     Additionally, on information and belief, after learning about what happened to

                 Zoe Brock, another victim of sexual abuse by Weinstein who has brought forth a claim in the




                 36
                      https://www.theguardian.com/film/2018/feb/17/harvey-weinstein-canada-lawsuit-barbara-schneeweiss
                 37
                      https://www.thewrap.com/how-harvey-weinstein-accusers-are-taking-charge/




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                 Southern District of New York, Schwartz simply apologized, admitting that “I want you to know

                 that of all the girls he does this to you are the one I really felt bad about. You deserve better.” 38

                         75.      The reality is, once again, like many other executives at Miramax, Schwartz failed

                 to formally report, investigate or take any action to prevent future sexual abuse by Weinstein.

                         76.      Miramax officer Nancy Ashbrooke (“Ashbrooke”) also knew or should have

                 known that Harvey Weinstein was regularly sexually abusing young girls and women.

                         77.      As the Vice President of Human Resources for Miramax from 1991 to 2000,

                 Ashbrooke was responsible for the oversight of any and all labor relations functions at Miramax

                 including, but not limited to, the investigation of complaints about employees, particularly those

                 relating to sexual abuse and harassment. Ashbrooke had direct knowledge of complaints

                 regarding Weinstein's rampant sexual abuse, and failed to formally report, investigate or take any

                 action to prevent future sexual abuse by Weinstein. 39

                         78.      Paul Webster (“Webster”), head of production at Miramax from 1995 to 1997,

                 also knew or should have known that Harvey Weinstein was regularly sexually abusing women

                 with whom he was meeting while conducting business on behalf of Miramax. 40

                         79.      Indeed, Webster is quoted as saying that the “sex allegations [against Harvey

                 Weinstein] are just the particularly rancid tip of the iceberg [at the company” and that “Miramax

                 was absolutely a cult, the cult of Harvey, and that’s how he got away with his behavior for so

                 long.”41




                 38
                    Id.
                 39
                    https://www.pedestrian.tv/news/vice-media-sexual-harassment-nancy-ashbrooke/
                 40
                    https://www.theguardian.com/film/2017/oct/25/the-cult-of-harvey-weinsteins-staff-at-miramax-describe-
                 bullying-and-abuse
                 41
                    Id.




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                         80.     Webster also described the corporate culture at Miramax in greater details

                 explaining that “[i]t was crude but very effective. People became brainwashed, some people had

                 nervous breakdowns. People would be hired and then destroyed for no apparent reason, and then

                 their careers and lives would be in tatters.” 42

                         81.     As for how Harvey Weinstein ran Miramax, Webster noted that “[e]verything

                 Harvey did was all about manipulation and fear. He was a massive bully. He would flatter people,

                 get the best out of them and then dump on them really, really hard to destroy them. It was this

                 whole thing of breaking people down so you could build them up in your own image.” 43

                         82.     Crucially, Webster admitted that “I feel so ashamed because I knew, everyone

                 knew. I’ve been saying it for years that he’d eventually get done for rape, because it’s that pattern

                 of bullying behavior combined with the sex stuff. I can say now I did think he was a rapist.” 44

                         83.     However, like many other executives at Miramax, Webster failed to formally

                 report, investigate or take any action to prevent future sexual abuse by Weinstein.

                                          Disney’s Knowledge of Harvey Weinstein's
                                Propensity to Engage in Sexual Harassment and Sexual Assault

                         84.     In addition to Miramax’s negligence in failing to do anything to stop the runaway

                 train of sexual abuse of young girls and women by Harvey Weinstein, Disney too turned a blind-

                 eye and allowed for the conduct to continue on for several years on end.

                         85.     As referenced above, when Disney purchased Miramax in 1993, they entered into

                 an employment agreement with Harvey Weinstein and Miramax that ran from 1993 to 1995, and

                 then another which ran from 1995-1999.45



                 42
                    Id.
                 43
                    Id.
                 44
                    Id.
                 45
                    https://www.canlii.org/en/on/onsc/doc/2018/2018onsc2122/2018onsc2122.html




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                         86.      Furthermore, despite all of the crimes Weinstein committed throughout these first

                 two agreements as referenced above, Disney entered into a third employment agreement with

                 Harvey Weinstein and Miramax that ran from 1999 to 2005. Crucially, this agreement called for

                 Disney to be held jointly and severally liable with Miramax. 46

                         87.      Additionally, while at Miramax, Harvey Weinstein reported directly to Michael

                 Eisner (“Eisner”), Disney's Chief Executive Officer. While Eisner originally delegated oversight

                 of Miramax to Jeffrey Katzenberg (“Katzenberg”), the Chairman of Disney, Katzenberg

                 eventually put Bill Mechanic, the head of Disney's international and worldwide video division,

                 in charge of Miramax.47

                         88.      While Mechanic identified that Miramax did not follow the law in its human

                 resources practices, he ultimately left in the fall of 1994 after, on information and belief, his

                 recommendations were largely ignored.

                         89.      The fact of the matter is, Harvey and Robert Weinstein "always wanted to go

                 directly to Michael [Eisner].”48 Thus, it is clear that Miramax was not entirely completely

                 autonomous.

                         90.      This is further demonstrated by the aforementioned Schneeweiss who was, on

                 information and belief, jointly employed by Miramax and Disney. Indeed, according to

                 Schneeweiss, Disney paid Miramax's employees, controlled Miramax's budget, approved (or

                 vetoed) Miramax's requests for increased film budgets, audited Miramax's books, and reviewed,

                 approved (or rejected), and paid for Miramax's business expenses.




                 46
                    Id.
                 47
                    Peter Biskind, Down and Dirty Pictures (2004)
                 48
                    Id.




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                        91.     Additionally, as more fully set forth above, during the time Disney owned

                 Miramax, Miramax paid settlements to multiple women who were victims of Harvey Weinstein's

                 sexual abuse. Based on Disney's control of Miramax finances, Disney knew or should have

                 known of these payments, which should have prompted additional inquiry and investigation.

                        92.     Moreover, on information and belief, given that Eisner had assigned eyes and ears

                 from Disney to watch over Harvey Weinstein – and those persons had knowledge of Harvey

                 Weinstein’s conduct, Eisner and Disney knew or should have known of Harvey Weinstein’s

                 sexual harassment and abuse.

                        93.     However, instead of taking action, including but not limited to an independent

                 investigation of Weinstein’s conduct and/or the implementation of controls to prevent further

                 abuse and/or the termination of Weinstein, Eisner and Disney chose to publicly misrepresent that

                 they did not have the right to exercise control over Weinstein when, in fact, every corporation

                 has the duty to oversee and supervise its employees, a duty that cannot be contractually waived.

                                                      CAUSES OF ACTION

                            As and For a First Cause of Action for Assault as to Harvey Weinstein

                        94.     Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 the paragraphs of this Complaint marked and designated 1. through 93., inclusively, with the

                 same force and effect as if hereafter set forth at length.

                        95.     In or about 2000, Defendant Harvey Weinstein sexually abused Plaintiff.

                        96.     Defendant Harvey Weinstein’s predatory, sexual and unlawful acts against

                 Plaintiff, as more fully set forth above, created a reasonable apprehension in Plaintiff of

                 immediate harmful or offensive contact to Plaintiff’s person, all of which were done intentionally

                 by him to her without her consent.




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                        97.     As a direct and proximate result of the aforementioned assault, Plaintiff has

                 suffered and continue to suffer from emotional and physical injury, including, but not limited to,

                 serious and severe mental distress, anguish, humiliation and embarrassment, as well as economic

                 losses, those total damages in amounts to be proven at trial.

                        98.     By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        99.     As such, Plaintiff is entitled to compensatory damages from Defendant Harvey

                 Weinstein in such sums as a jury would find fair, just, and adequate. Furthermore, because

                 Defendant Harvey Weinstein committed the acts alleged herein maliciously, fraudulently and

                 oppressively with the wrongful intention of causing injuries to Plaintiff from an improper and

                 evil motive amounting to malice and in conscious disregard of Plaintiff’s rights, Plaintiff is

                 further entitled to punitive and exemplary damages from Defendant Harvey Weinstein in such

                 sums as a jury would find fair, just and adequate to deter future similar conduct.

                        100.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        101.    This action falls within exceptions to Article 16 of the C.P.L.R.

                          As and For a Second Cause of Action for Battery as to Harvey Weinstein

                        102.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 the paragraphs of this Complaint marked and designated 1. through 101., inclusively, with the

                 same force and effect as if hereafter set forth at length.




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                        103.    Defendant Harvey Weinstein’s predatory, sexual and unlawful acts against

                 Plaintiff, as more fully set forth above, amounted to a series of harmful and offensive contacts to

                 Plaintiff’s person, all of which were done intentionally by him to her without her consent.

                        104.    As a direct and proximate result of the aforementioned battery, Plaintiff has

                 suffered and continue to suffer from emotional and physical injury, including, but not limited to,

                 serious and severe mental distress, anguish, humiliation and embarrassment, as well as economic

                 losses, those total damages in amounts to be proven at trial.

                        105.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        106.    As such, Plaintiff is entitled to compensatory damages from Defendant Harvey

                 Weinstein in such sums as a jury would find fair, just, and adequate. Furthermore, because

                 Defendant Harvey Weinstein committed the acts alleged herein maliciously, fraudulently and

                 oppressively with the wrongful intention of causing injuries to Plaintiff from an improper and

                 evil motive amounting to malice and in conscious disregard of Plaintiff’s rights, Plaintiff is

                 further entitled to punitive and exemplary damages from Defendant Harvey Weinstein in such

                 sums as a jury would find fair, just and adequate to deter future similar conduct.

                        107.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        108.    This action falls within exceptions to Article 16 of the C.P.L.R.




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                                             As and For a Third Cause of Action for
                                           False Imprisonment as to Harvey Weinstein

                        109.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 the paragraphs of this Complaint marked and designated 1. through 108., inclusively, with the

                 same force and effect as if hereafter set forth at length.

                        110.    Defendant Harvey Weinstein’s predatory, sexual and unlawful acts against

                 Plaintiff, as more fully set forth above, amounted to willful detention of Plaintiff without

                 authority of law, all of which were done intentionally by him to her without her consent.

                        111.    As a direct and proximate result of the aforementioned false imprisonment,

                 Plaintiff has suffered and continue to suffer from emotional and physical injury, including, but

                 not limited to, serious and severe mental distress, anguish, humiliation and embarrassment, as

                 well as economic losses, those total damages in amounts to be proven at trial.

                        112.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        113.    As such, Plaintiff is entitled to compensatory damages from Defendant Harvey

                 Weinstein in such sums as a jury would find fair, just, and adequate. Furthermore, because

                 Defendant Harvey Weinstein committed the acts alleged herein maliciously, fraudulently and

                 oppressively with the wrongful intention of causing injuries to Plaintiff from an improper and

                 evil motive amounting to malice and in conscious disregard of Plaintiff’s rights, Plaintiff is

                 further entitled to punitive and exemplary damages from Defendant Harvey Weinstein in such

                 sums as a jury would find fair, just and adequate to deter future similar conduct.




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                        114.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        115.    This action falls within exceptions to Article 16 of the C.P.L.R.

                                     As and For a Fourth Cause of Action for Intentional
                                    Infliction of Emotional Distress as to Harvey Weinstein

                        116.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 the paragraphs of this Complaint marked and designated 1. through 115., inclusively, with the

                 same force and effect as if hereafter set forth at length.

                        117.    Defendant Harvey Weinstein engaged in outrageous conduct towards Plaintiff

                 with the intention to cause, or with reckless disregard for the probability of causing, Plaintiff to

                 suffer severe emotional distress.

                        118.    As a direct and proximate result of the aforementioned intentional infliction of

                 emotional distress, Plaintiff has suffered and continue to suffer from emotional and physical

                 injury, including, but not limited to, serious and severe mental distress, anguish, humiliation and

                 embarrassment, as well as economic losses, those total damages in amounts to be proven at trial.

                        119.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        120.    As such, Plaintiff is entitled to compensatory damages from Defendant Harvey

                 Weinstein in such sums as a jury would find fair, just, and adequate. Furthermore, because

                 Defendant Harvey Weinstein committed the acts alleged herein maliciously, fraudulently and

                 oppressively with the wrongful intention of causing injuries to Plaintiff from an improper and




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                 evil motive amounting to malice and in conscious disregard of Plaintiff’s rights, Plaintiff is

                 further entitled to punitive and exemplary damages from Defendant Harvey Weinstein in such

                 sums as a jury would find fair, just and adequate to deter future similar conduct.

                        121.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        122.    This action falls within exceptions to Article 16 of the C.P.L.R.

                                       As and For a Fifth Cause of Action for Negligence
                                 as to Robert Weinstein, Miramax, Disney and Doe Corp. 1-10

                        123.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 the paragraphs of this Complaint marked and designated 1. through 122., inclusively, with the

                 same force and effect as if hereafter set forth at length.

                        124.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10’s conduct

                 described herein, including the negligent hiring, retention and/or supervision of Harvey

                 Weinstein and affirmative acts covering up and empowering Harvey Weinstein to commit sexual

                 assaults, resulted in Harvey Weinstein’s commission of the sex crime against Plaintiff.

                        125.    Based on prior complaints against Harvey Weinstein, as well as his conduct,

                 statements and other information that could or should have been known, Defendants Robert

                 Weinstein, Disney, Miramax and Doe Corp. 1-10 knew or reasonably should have known that

                 Harvey Weinstein had a propensity to engage in sexual misconduct and would use his position

                 and power to lure Plaintiff and other similarly situated aspiring female actresses to his

                 apartments, hotel rooms, offices, etc. under the guise of discussing business opportunities to

                 sexually harass, batter, assault, falsely imprison and rape them.

                        126.    Defendant Robert Weinstein’s prior “cover ups” for Defendant Harvey

                 Weinstein’s sexual misconduct with women with whom he worked created a continuing risk of




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                 Harvey Weinstein would engage in similar sexual misconduct in the future. Nevertheless, Robert

                 Weinstein allowed Harvey Weinstein to have unfettered authority and endless resources such

                 that he was enabled and permitted to engage in sexual misconduct with female employees and

                 actresses, including Plaintiff. Moreover, Robert Weinstein knew that Harvey Weinstein

                 continued to engage in sexual misconduct and abuse.

                         127.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10 ultimately

                 had a duty of care to properly hire, train, retain, supervise and discipline their employees,

                 including but not limited to Harvey Weinstein, and other employees set forth above, to avoid

                 unreasonable harm to others, including Plaintiff, or to take steps to alleviate harm caused by their

                 affirmative conduct.

                         128.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10 breached

                 their duty of care by way of their own conduct as alleged herein, including, but not limited to,

                 failing to terminate Harvey Weinstein’s employment or taking steps to warn or otherwise reduce

                 the risk that Harvey Weinstein would use his position of power to continue to engage in sexual

                 misconduct with female employees and actresses, including Plaintiff.

                         129.    The burden on Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-

                 10 to take some action to warn or otherwise reduce the risk of Harvey Weinstein’s sexual

                 misconduct was slight, while the harm from Harvey Weinstein’s sexual misconduct was grave

                 and caused significant physical and mental harm to vulnerable female employees and aspiring

                 actresses, including Plaintiff.

                         130.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10’s negligent

                 and/or affirmative enabling, encouraging facilitating and allowing Harvey Weinstein to indulge

                 his propensity to sexually abuse, or engage in sexual misconduct, was a substantial factor in




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                 Harvey Weinstein’s continuing to sexually abuse women, including Plaintiff, and causing them

                 harm. Indeed, these Defendants are negligent for fostering, creating and/or permitting a culture

                 where Harvey Weinstein was allows to treat women this way, which was a substantial

                 contributing factor in Harvey Weinstein continuing to do so.

                        131.    As a direct and proximate result of the aforementioned negligence, Plaintiff has

                 suffered, and continue to suffer from emotional and physical injury, including, but not limited to,

                 serious and severe mental distress, anguish, humiliation and embarrassment, as well as economic

                 losses, those total damages in amounts to be proven at trial.

                        132.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        133.    As such, Plaintiff is entitled to compensatory damages from Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10 in such sums as a jury would find fair, just, and

                 adequate. Furthermore, because Defendants Robert Weinstein, Miramax, Disney and Doe Corp.

                 1-10, and/or their agents, servants and/or employees committed the acts alleged herein

                 maliciously, fraudulently and oppressively with the wrongful intention of causing injuries to

                 Plaintiff from an improper and evil motive amounting to malice and in conscious disregard of

                 Plaintiff’s rights, Plaintiff is further entitled to punitive and exemplary damages from Defendants

                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or

                 employees in such sums as a jury would find fair, just and adequate to deter future similar

                 conduct.




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                        134.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        135.    This action falls within exceptions to Article 16 of the C.P.L.R.

                            As and For a Sixth Cause of Action for Negligent Hiring, Retention
                       and Supervision as to Robert Weinstein, Miramax, Disney and Doe Corp. 1-10

                        136.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 the paragraphs of this Complaint marked and designated 1. through 135., inclusively, with the

                 same force and effect as if hereafter set forth at length.

                        137.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10’s conduct

                 described herein, including the negligent hiring, retention and/or supervision of Harvey

                 Weinstein and affirmative acts covering up and empowering Harvey Weinstein to commit sexual

                 assaults, resulted in Harvey Weinstein’s commission of the sex crime against Plaintiff.

                        138.    Based on prior complaints against Harvey Weinstein, as well as his conduct,

                 statements and other information that could or should have been known, Defendants Robert

                 Weinstein, Disney and Miramax knew or reasonably should have known that Harvey Weinstein

                 had a propensity to engage in sexual misconduct and would use his position and power to lure

                 Plaintiff and other similarly situated aspiring female actresses to his apartments, hotel rooms,

                 offices, etc. under the guise of discussing business opportunities and once alone with them, to

                 sexually harass, batter, assault, falsely imprison and rape them.

                        139.    Defendant Robert Weinstein’s prior “cover ups” for Defendant Harvey

                 Weinstein’s sexual misconduct with women with whom he worked created a continuing risk of

                 Harvey Weinstein would engage in similar sexual misconduct in the future. Nevertheless, Robert

                 Weinstein allowed Harvey Weinstein to have unfettered authority and endless resources such

                 that he was enabled and permitted to engage in sexual misconduct with female employees and




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                 actresses, including Plaintiff. Moreover, Robert Weinstein knew that Harvey Weinstein

                 continued to engage in sexual misconduct.

                         140.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10 improperly

                 hired and continued to employ Harvey Weinstein, failed to terminate Harvey Weinstein’s

                 employment and/or take steps to warn or otherwise reduce the risk that Harvey Weinstein would

                 use his position of power to continue to engage in sexual misconduct with female employees and

                 actresses, including Plaintiff.

                         141.    The burden on Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-

                 10 to take some action to warn or otherwise reduce the risk of Harvey Weinstein’s sexual

                 misconduct was slight, while the harm from Harvey Weinstein’s sexual misconduct was grave

                 and caused significant physical and mental harm to vulnerable female employees and aspiring

                 actresses, including Plaintiff.

                         142.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10’s negligent

                 and/or affirmative enabling, encouraging facilitating and allowing Harvey Weinstein to indulge

                 his propensity to sexually abuse, or engage in sexual misconduct, was a substantial factor in

                 causing Plaintiff harm.

                         143.    As a direct and proximate result of the aforementioned negligence, Plaintiff has

                 suffered, and continue to suffer from emotional and physical injury, including, but not limited to,

                 serious and severe mental distress, anguish, humiliation and embarrassment, as well as economic

                 losses, those total damages in amounts to be proven at trial.

                         144.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting




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                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        145.    As such, Plaintiff is entitled to compensatory damages from Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10 in such sums as a jury would find fair, just, and

                 adequate. Furthermore, because Defendants Robert Weinstein, Miramax, Disney and Doe Corp.

                 1-10, and/or their agents, servants and/or employees committed the acts alleged herein

                 maliciously, fraudulently and oppressively with the wrongful intention of causing injuries to

                 Plaintiff from an improper and evil motive amounting to malice and in conscious disregard of

                 Plaintiff’s rights, Plaintiff is further entitled to punitive and exemplary damages from Defendants

                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or

                 employees in such sums as a jury would find fair, just and adequate to deter future similar

                 conduct.

                        146.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        147.    This action falls within exceptions to Article 16 of the C.P.L.R.

                               As and For a Seventh Cause of Action for Aiding and Abetting
                            Assault as to Robert Weinstein, Miramax, Disney and Doe Corp. 1-10

                        148.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 those paragraphs of this complaint marked and designated 1. through 147., inclusive with the

                 same force and effect as if hereafter set forth at length.

                        149.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants and/or employees encouraged, permitted, condoned and created a corporate

                 culture, demeanor, state-of-mind, environment and/or mentality where its employees,

                 specifically Defendant Harvey Weinstein, could and did degrade, demean, mistreat, assault,




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                 batter, falsely imprison and/or abuse women, including Plaintiff, all without any negative

                 consequences or repercussions.

                        150.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees also committed overt acts in furtherance of

                 Defendant Harvey Weinstein’s assaults upon Plaintiff with the intention that said assaults be

                 committed.

                        151.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants and/or employees’ overt acts in furtherance of Defendant Harvey Weinstein’s

                 assaults upon Plaintiff were the proximate and actual causes of said assaults.

                        152.    As a result, and consequence of the actions and/or omissions of Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or employees,

                 Defendant Harvey Weinstein was able to sexually assault, batter, falsely imprison and/or abuse

                 women, including Plaintiff, without her consent.

                        153.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants and/or employees aided and abetted the assaults of Plaintiff by Defendant Harvey

                 Weinstein, causing damage to Plaintiff.

                        154.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees provided substantial assistance in Defendant

                 Harvey Weinstein’s assaults of Plaintiff.

                        155.    As a direct and proximate result of the aforementioned aiding and abetting of

                 assaults, Plaintiff has suffered, and continues to suffer from emotional and physical injury,

                 including, but not limited to, serious and severe mental distress, anguish, humiliation and

                 embarrassment, as well as economic losses, those total damages in amounts to be proven at trial.




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                        156.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and has incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        157.    As such, Plaintiff is entitled to compensatory damages from Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10 in such sums as a jury would find fair, just, and

                 adequate. Furthermore, because Defendants Robert Weinstein, Miramax, Disney and Doe Corp.

                 1-10, and/or their agents, servants, principals and/or employees committed the acts alleged herein

                 maliciously, fraudulently and oppressively with the wrongful intention of causing injuries to

                 Plaintiff from an improper and evil motive amounting to malice and in conscious disregard of

                 Plaintiff’s rights, Plaintiff is further entitled to punitive and exemplary damages from Defendants

                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or

                 employees in such sums as a jury would find fair, just and adequate to deter future similar

                 conduct.

                        158.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        159.    This action falls within the exceptions to Article 16 of the C.P.L.R.

                                     As and For an Eighth Cause of Action for Assault as
                                  to Robert Weinstein, Miramax, Disney and Doe Corp. 1-10

                        160.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 those paragraphs of the Complaint marked and designated 1. through 159., inclusive, with the

                 same force and effect as if hereafter set forth at length.




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                         161.   During the time that the Defendants Robert Weinstein, Miramax, Disney and Doe

                 Corp. 1-10, and/or their agents, servants, principals and/or employees allowed, encourages and

                 created the corporate culture and environment that would allow Defendant Harvey Weinstein to

                 sexually assault, batter, falsely imprison and/or abuse women, Defendant Harvey Weinstein did

                 sexually assault, batter, falsely imprison and/or abuse Plaintiff without her consent.

                         162.   Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees turned a blind-eye to the graphic, forced, and

                 unlawful behavior of their agents, servants and/or employees, specifically Harvey Weinstein,

                 which amounted to a series of events that created a reasonable apprehension in Plaintiff of

                 immediate, harmful or offensive contact to Plaintiff’s person, all of which were done

                 intentionally by Defendant Harvey Weinstein to Plaintiff without her consent.

                         163.   As a direct and proximate result of the aforementioned batteries, Plaintiff has

                 sustained in the past, and will continue to sustain in the future, serious and severe psychological

                 and emotional distress, mental anguish, embarrassment, and humiliation.

                         164.   As a direct and proximate result of the aforementioned batteries, Plaintiff has

                 incurred medical expenses and other economic damages, and will be obligated to expend sums

                 of money for further medical care and attention in an effort to alleviate her serious and severe

                 psychological and emotional distress, mental anguish, embarrassment, and humiliation.

                         165.   Plaintiff was and will be unable, for some time to come, to pursue her usual

                 activities and employment, all due to the serious and severe psychological and emotional distress,

                 mental anguish, embarrassment, and humiliation she sustained due to the aforementioned

                 batteries.




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                         166.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees had actual notice that this type of illicit behavior

                 was going on amongst its agents, servants and/or employees, specifically Defendant Harvey

                 Weinstein, yet rather than stop it from continuing, said Defendants ultimately aided and abetted

                 this type of behavior by condoning, directing, encouraging, and/or facilitating the

                 aforementioned batteries that caused the harmful and offensive contact to Plaintiff that caused

                 her the injuries set forth herein.

                         167.    As a direct and proximate result of the aforementioned assaults, Plaintiff has

                 suffered, and continues to suffer from emotional and physical injury, including, but not limited

                 to, serious and severe mental distress, anguish, humiliation and embarrassment, as well as

                 economic losses, those total damages in amounts to be proven at trial.

                         168.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                         169.    As such, Plaintiff is entitled to compensatory damages from Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10 in such sums as a jury would find fair, just, and

                 adequate. Furthermore, because Defendants Robert Weinstein, Miramax, Disney and Doe Corp.

                 1-10, and/or their agents, servants and/or employees committed the acts alleged herein

                 maliciously, fraudulently and oppressively with the wrongful intention of causing injuries to

                 Plaintiff from an improper and evil motive amounting to malice and in conscious disregard of

                 Plaintiff’s rights, Plaintiff is further entitled to punitive and exemplary damages from Defendants




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                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or

                 employees in such sums as a jury would find fair, just and adequate to deter future similar

                 conduct.

                        170.    The amount of damages sought exceeds the jurisdiction of all lower courts that

                 would otherwise have jurisdiction.

                        171.    This action falls with exceptions to Article 16 of the C.P.L.R.

                             As and For a Ninth First Cause of Action for Aiding and Abetting
                            Battery as to Robert Weinstein, Miramax, Disney and Doe Corp. 1-10

                        172.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 those paragraphs of this complaint marked and designated 1. through 171., inclusive with the

                 same force and effect as if hereafter set forth at length.

                        173.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees encouraged, permitted, condoned and created a

                 corporate culture, demeanor, state-of-mind, environment and/or mentality where its employees,

                 specifically Defendant Harvey Weinstein, degraded, demeaned, mistreated, assaulted, battered,

                 falsely imprisoned and/or abused women, including Plaintiff.

                        174.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees committed overt acts in furtherance of Defendant

                 Harvey Weinstein’s batteries upon Plaintiff with the intention that said batteries be committed.

                        175.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees’ overt acts in furtherance of Defendant Harvey

                 Weinstein’s batteries upon Plaintiff was the proximate and actual causes of said batteries.

                        176.    As a result and consequence of the actions and/or omissions of Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants, principals and/or




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                 employees, Defendant Harvey Weinstein was able to sexually assault, batter, falsely imprison

                 and/or abuse women, including Plaintiff, without her consent.

                        177.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees aided and abetted the batteries of Plaintiff by

                 Defendant Harvey Weinstein causing damage to Plaintiff.

                        178.    Defendants Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees provided substantial assistance in Defendant

                 Harvey Weinstein batteries of Plaintiff.

                        179.    As a direct and proximate result of the aforementioned aiding and abetting of the

                 batteries, Plaintiff has suffered, and continues to suffer from emotional and physical injury,

                 including, but not limited to, serious and severe mental distress, anguish, humiliation and

                 embarrassment, as well as economic losses, those total damages in amounts to be proven at trial.

                        180.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                        181.    As such, Plaintiff is entitled to compensatory damages from Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10 in such sums as a jury would find fair, just, and

                 adequate. Furthermore, because Defendants Robert Weinstein, Miramax, Disney and Doe Corp.

                 1-10, and/or their agents, servants and/or employees committed the acts alleged herein

                 maliciously, fraudulently and oppressively with the wrongful intention of causing injuries to

                 Plaintiff from an improper and evil motive amounting to malice and in conscious disregard of




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                 Plaintiff’s rights, Plaintiff is further entitled to punitive and exemplary damages from Defendants

                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or

                 employees in such sums as a jury would find fair, just and adequate to deter future similar

                 conduct.

                        182.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        183.    This action falls within the exceptions to Article 16 of the C.P.L.R.

                                    As and For a Tenth Second Cause of Action for Battery
                                 as to Robert Weinstein, Miramax, Disney and Doe Corp. 1-10

                        184.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

                 those paragraphs of the Complaint marked and designated 1. through 183., inclusive, with the

                 same force and effect as if hereafter set forth at length.

                        185.    Prior to her being sexually assaulted and battered by Defendant Harvey

                 Weinstein, Plaintiff, due to her communications with Defendants Robert Weinstein, Miramax,

                 Disney and Doe Corp. 1-10, and/or their agents, servants and/or employees, were under the

                 explicit understanding that her meetings with Defendant Harvey Weinstein were solely related

                 to business.

                        186.    Despite these statements and implications made by Defendants Harvey Weinstein,

                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or

                 employees, these meetings were actually set up so that Defendant Harvey Weinstein could

                 sexually assault, batter, falsely imprison and/or abuse Plaintiff.

                        187.    Had Plaintiff known that she was, in reality, being set up to be sexually assaulted,

                 battered, falsely imprisoned and/or abused, she would not have taken the meetings which is clear

                 by her lack of consent to the sexual activity, contact, and/or touching referenced herein.




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                         188.   As such, this graphic, forced, and unlawful behavior amounted to a series of

                 harmful and offensive contacts to Plaintiff’s person all of which were committed intentionally

                 by Defendants to Plaintiff without her consent.

                         189.   As a direct and proximate result of the aforementioned batteries, Plaintiff has

                 sustained in the past, and will continue to sustain in the future, serious and severe psychological

                 and emotional distress, mental anguish, embarrassment, and humiliation.

                         190.   As a direct and proximate result of the aforementioned batteries, Plaintiff has

                 incurred medical expenses and other economic damages, and will be obligated to expend sums

                 of money for further medical care and attention in an effort to alleviate her serious and severe

                 psychological and emotional distress, mental anguish, embarrassment, and humiliation.

                         191.   Plaintiff was and will be unable, for some time to come, to pursue her usual

                 activities and employment, all due to the serious and severe psychological and emotional distress,

                 mental anguish, embarrassment, and humiliation they sustained due to the aforementioned

                 batteries.

                         192.   Upon information and belief these injuries are of a permanent and lasting nature,

                 Plaintiff was, and has been, incapacitated from attending her regular activities and was caused to

                 expend sums of money for medical care on her behalf.

                         193.   Furthermore, Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or

                 their agents, servants, principals and/or employees had actual notice that this type of illicit

                 behavior was going on amongst its employees, specifically Defendant Harvey Weinstein, yet

                 rather than stop it from continuing, said Defendants ultimately aided and abetted this type of

                 behavior by condoning, reinforcing, directing, encouraging, and/or facilitating the




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                 aforementioned batteries that caused the harmful and offensive contacts to Plaintiff that caused

                 her injuries set forth herein.

                         194.    As such, Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their

                 agents, servants, principals and/or employees not only encouraged said batteries to take place,

                 but their encouragement was also a substantial factor in causing the batteries.

                         195.    As a direct and proximate result of the aforementioned batteries, Plaintiff has

                 suffered, and continues to suffer from emotional and physical injury, including, but not limited

                 to, serious and severe mental distress, anguish, humiliation and embarrassment, as well as

                 economic losses, those total damages in amounts to be proven at trial.

                         196.    By reason of the foregoing, Plaintiff has incurred medical expenses and will

                 continue to be obligated to expend sums of money for medical care and attention in an effort to

                 cure herself of her injuries. On information and belief, said injuries are of a permanent and lasting

                 nature and have incapacitated Plaintiff from attending her regular activities, those total damages

                 in amounts to be proven at trial.

                         197.    As such, Plaintiff is entitled to compensatory damages from Defendants Robert

                 Weinstein, Miramax, Disney and Doe Corp. 1-10 in such sums as a jury would find fair, just, and

                 adequate. Furthermore, because Defendants Robert Weinstein, Miramax, Disney and Doe Corp.

                 1-10, and/or their agents, servants and/or employees committed the acts alleged herein

                 maliciously, fraudulently and oppressively with the wrongful intention of causing injuries to

                 Plaintiff from an improper and evil motive amounting to malice and in conscious disregard of

                 Plaintiff’s rights, Plaintiff is further entitled to punitive and exemplary damages from Defendants

                 Robert Weinstein, Miramax, Disney and Doe Corp. 1-10, and/or their agents, servants and/or




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                 employees in such sums as a jury would find fair, just and adequate to deter future similar

                 conduct.

                        198.    The amount of damages sought exceeds the jurisdiction of all lower courts that

                 would otherwise have jurisdiction.

                 This action falls with exceptions to Article 16 of the C.P.L.R.

                        WHEREFORE, Plaintiff demands judgment against Defendants in such sum as a jury

                 would find fair, just and adequate and containing the following relief:

                        A.      A declaratory judgment that the actions, conduct and practices of Defendants

                 complained of herein violated the laws of the State of New York;

                        B.      An injunction and order permanently restraining Defendants from engaging in

                 such unlawful conduct;

                        C.      An award of damages in an amount to be determined at trial, plus prejudgment

                 interest, to compensate Plaintiff for all monetary and/or economic harm; harm to her personal

                 and professional reputations and loss of career fulfillment; for all non-monetary and/or

                 compensatory harm including, but not limited to, compensation for physical anguish and mental

                 anguish; and, all other monetary and/or non-monetary losses suffered by Plaintiff;

                        D.      An award of punitive and exemplary damages according to proof;

                        E.      An award of costs that Plaintiff has incurred in this action, as well as Plaintiff’s

                 reasonable attorneys’ fees to the fullest extent permitted by law and statute; and,

                        F.      Such other and further relief as this Honorable Court may deem just and proper.

                 Dated: New York, NY
                        October 2, 2020




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                                                                MERSON LAW, PLLC


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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK
                 ---------------------------------------------------------------------X
                 JANE DOE V,

                                                             Plaintiff,
                                                                                          Index No.: ___________/20
                                  -against-

                 HARVEY WEINSTEIN, ROBERT WEINSTEIN,
                 MIRAMAX HOLDING CORP., MIRAMAX FILM NY,                                       ATTORNEY
                 LLC f/k/a MIRAMAX FILM CORP., THE WALT
                                                                                              VERIFICATION
                 DISNEY COMPANY, DISNEY ENTERPRISES, INC.
                 and DOE CORP. 1-10,

                                                              Defendants.
                 ---------------------------------------------------------------------X
                          JORDAN K. MERSON, ESQ., an attorney duly admitted to practice in the Courts of

                 the State of New York and a member of the firm MERSON LAW, PLLC, attorneys for Plaintiff

                 in the within action hereby affirms under penalty of perjury:

                         That he has read the within Verified Complaint, knows the contents thereof and that the

                 same is true to his own knowledge, except as to the matters stated to be alleged on information

                 and belief, and that as to those matters, he believes them to be true;

                         That the sources of his information and knowledge are investigations and records

                 maintained in the file in his office; and,

                         That the reason this Attorney Verification is made by him and not by Plaintiff is that

                 Plaintiff does not reside in the County where he has his office.

                 Dated: New York, NY
                        October 2, 2020

                                                                     __________________________
                                                                        JORDAN K. MERSON




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                   SUPREME COURT OF THE STATE OF NEW YORK
                   COUNTY OF NEW YORK
                   JANE DOE V,

                                                                       Plaintiff,

                                      -against-

                   HARVEY WEINSTEIN, ROBERT WEINSTEIN, MIRAMAX
                   HOLDING CORP., MIRAMAX FILM NY, LLC f/k/a
                   MIRAMAX FILM CORP., THE WALT DISNEY COMPANY,
                   DISNEY ENTERPRISES, INC. and DOE CORP. 1-10,

                                                                       Defendants.


                               SUMMONS AND VERIFIED COMPLAINT



                                                  Merson Law, PLLC

                                                 Attorneys for Plaintiff
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                    To: All Parties




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